929 F.2d 692Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie L. GLOVER, Jr., Plaintiff-Appellant,v.John O. MARSH, JR., Secretary of the Army, Defendant-Appellee.
    No. 90-1144.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 12, 1991.Decided March 21, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., District Judge.  (CA-89-455-B)
      Willie L. Glover, Jr., appellant pro se.
      Juliet Ann Eurich, Office of the United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before PHILLIPS and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Willie L. Glover, Jr. appeals from the district court's order denying relief in this action alleging racial discrimination in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Secs. 2000e et seq.    Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Glover v. Marsh, CA-89-455-B (D.Md. Aug. 10, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    